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                         EXHIBIT A
  Case 3:17-cv-01375-DMS-MDD Document 663-2 Filed 03/09/19 PageID.37705 Page 2 of 4




From:                         Michelle A. Clark <michelleclark@quinnemanuel.com>
Sent:                         Friday, March 8, 2019 12:37 AM
To:                           Frazier, Sarah; Branden Stein; Garcia, Nina; Backer, Joy; WH Qualcomm-Apple SDCal
                              1375 Service List; 'Apple_Qualcomm_FRService_SDCA_1375'
Cc:                           QE-Qualcomm-SDCal-1375; 'JonesDay-QC1375@jonesday.com'; 'service-csm-qc-
                              itc@cravath.com'
Subject:                      Re: Qualcomm v. Apple, 17-1375 - Rinard



EXTERNAL SENDER


Sarah, Jimmy, et al -

Without agreeing that Apple has raised an appropriate objection regarding whether Qualcomm's expert
testimony falls outside the scope of the expert reports, we identify the following sections as a
professional courtesy, which we hope will end this dispute.

 Expert:            Exemplary expert report disclosures:
 Baker              Opening Report at ¶¶ 262, 268, 278, 280, 298
 Rinard             Opening Report at ¶¶ 29, 518-523, 584-585

Dr. Rinard was also deposed extensively regarding this position. See, e.g., Rinard Dep. Tr. 211:22-212:3,
213:19-214:2, and 254:13-255:3. Please also see Dr. Rinard’s trial testimony at pages 336:14-21, 339:17-
340:10, 354:3-23, 362:3-17, and 366:3-20 and Dr. Baker’s trial testimony at 500:4-17; 509:14-
510:17. Should Apple pursue its objections, Qualcomm reserves the right to identify additional
supporting disclosures from the expert reports, deposition testimony, and other relevant sources.

In addition, Qualcomm notes that neither of the excerpts of testimony identified by Apple occurred
during direct examination. The two lines of testimony from Dr. Baker that Apple finds objectionable
occur during redirect, in his response to questions clarifying the testimony elicited by Apple on cross-
examination. The excerpt to which Apple purports to object in Dr. Rinard's testimony comes from his
responses to questions elicited by Apple's counsel on cross-examination. Moreover, it does not appear
that there was a contemporaneous objection made in a timely fashion to either Dr. Rinard's or Dr. Baker’s
testimony.

Please confirm that Apple will withdraw its objections. Given the timing of the trial, Apple's continued
pursuit of these objections without ever articulating a reasonable basis for them is prejudicial to the
parties' ability to resolve the issues in a manner that avoids prejudice to Qualcomm and these
proceedings. As such, Qualcomm reserves all rights to argue not only that the objections are meritless
but that they are untimely and waived as well.

Best,
Michelle




                                                       1
   Case 3:17-cv-01375-DMS-MDD Document 663-2 Filed 03/09/19 PageID.37706 Page 3 of 4
From: Frazier, Sarah <Sarah.Frazier@wilmerhale.com>
Sent: Thursday, March 7, 2019 1:46 PM
To: Michelle A. Clark; Branden Stein; Garcia, Nina; Backer, Joy; WH Qualcomm-Apple SDCal 1375 Service List;
'Apple_Qualcomm_FRService_SDCA_1375'
Cc: QE-Qualcomm-SDCal-1375; 'JonesDay-QC1375@jonesday.com'; 'service-csm-qc-itc@cravath.com'
Subject: RE: Qualcomm v. Apple, 17-1375 - Rinard

Michelle,

We would like to know where in Dr. Rinard’s expert report he offered the opinion that he gave yesterday at, e.g., page
398, line 12 through page 399, line 18 of the trial transcript. Please let us know by 5 pm today.

Thanks,
Sarah

From: Michelle A. Clark <michelleclark@quinnemanuel.com>
Sent: Wednesday, March 6, 2019 7:09 PM
To: Frazier, Sarah <Sarah.Frazier@wilmerhale.com>; Branden Stein <brandenstein@quinnemanuel.com>; Garcia, Nina
<Nina.Garcia@wilmerhale.com>; Backer, Joy <Joy.Backer@wilmerhale.com>; WH Qualcomm-Apple SDCal 1375 Service
List <WHQualcomm-AppleSDCal1375ServiceList@wilmerhale.com>; 'Apple_Qualcomm_FRService_SDCA_1375'
<Apple_Qualcomm_FRService_SDCA_1375@fr.com>
Cc: QE-Qualcomm-SDCal-1375 <qe-qualcomm-sdcal-1375@quinnemanuel.com>; 'JonesDay-QC1375@jonesday.com'
<JonesDay-QC1375@jonesday.com>; 'service-csm-qc-itc@cravath.com' <service-csm-qc-itc@cravath.com>
Subject: Re: Qualcomm v. Apple, 17-1375 - Rinard

EXTERNAL SENDER: This message originated outside of the firm.
Sarah,

I wasn't really clear on what Mr. Mueller was trying to strike. I would appreciate getting the transcript cite,
but I also agree that further meet and confer makes sense on this issue because despite having been in Court
today, I'm still a bit unclear on the issue in dispute. If you guys would provide a written articulation of the
issue, I'd really appreciate it and it would help ensure that my response is useful.

Michelle



From: Frazier, Sarah <Sarah.Frazier@wilmerhale.com>
Sent: Wednesday, March 6, 2019 4:05 PM
To: Michelle A. Clark; Branden Stein; Garcia, Nina; Backer, Joy; WH Qualcomm-Apple SDCal 1375 Service List;
'Apple_Qualcomm_FRService_SDCA_1375'
Cc: QE-Qualcomm-SDCal-1375; 'JonesDay-QC1375@jonesday.com'; 'service-csm-qc-itc@cravath.com'
Subject: RE: Qualcomm v. Apple, 17-1375 - Rinard

Michelle,

The one Mr. Mueller moved to strike during Dr. Rinard’s testimony morning. We don’t have the transcript yet but are
happy to forward the citation once we do.

Thanks,

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Sarah
From: Michelle A. Clark <michelleclark@quinnemanuel.com>
Sent: Wednesday, March 6, 2019 7:02 PM
To: Frazier, Sarah <Sarah.Frazier@wilmerhale.com>; Branden Stein <brandenstein@quinnemanuel.com>; Garcia, Nina
<Nina.Garcia@wilmerhale.com>; Backer, Joy <Joy.Backer@wilmerhale.com>; WH Qualcomm-Apple SDCal 1375 Service
List <WHQualcomm-AppleSDCal1375ServiceList@wilmerhale.com>; 'Apple_Qualcomm_FRService_SDCA_1375'
<Apple_Qualcomm_FRService_SDCA_1375@fr.com>
Cc: QE-Qualcomm-SDCal-1375 <qe-qualcomm-sdcal-1375@quinnemanuel.com>; 'JonesDay-QC1375@jonesday.com'
<JonesDay-QC1375@jonesday.com>; 'service-csm-qc-itc@cravath.com' <service-csm-qc-itc@cravath.com>
Subject: Re: Qualcomm v. Apple, 17-1375 - Rinard

EXTERNAL SENDER: This message originated outside of the firm.
Sarah,

It would be helpful if you could articulate, in writing, what opinion Apple is seeking to strike. Once we get
that, we can assess the best way to confer and the timeline for doing so.

Thanks.

Michelle

From: Frazier, Sarah <Sarah.Frazier@wilmerhale.com>
Sent: Wednesday, March 6, 2019 3:50 PM
To: Branden Stein; Garcia, Nina; Backer, Joy; WH Qualcomm-Apple SDCal 1375 Service List;
'Apple_Qualcomm_FRService_SDCA_1375'
Cc: QE-Qualcomm-SDCal-1375; 'JonesDay-QC1375@jonesday.com'; 'service-csm-qc-itc@cravath.com'
Subject: Qualcomm v. Apple, 17-1375 - Rinard

Counsel,

Please identify by 5pm tomorrow where in Dr. Rinard’s report he disclosed the opinion that Apple has moved to strike.

Regards,
Sarah

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+1 617 526 6022 (t)
+1 617 526 5000 (f)
sarah.frazier@wilmerhale.com

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copies of this message and any attachments. Thank you.

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